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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                 8:11CR424
                                              )
       vs.                                    )
                                              )
FERMIN ALTAMIRANO-RAMIREZ,                    )                   ORDER
                                              )
                      Defendant.              )


        This matter is before the court on the defendant's Unopposed Motion to Continue
Trial [86]. The parties require additional time to complete pretrial negotiations. The
defendant has complied with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the unopposed motion to continue trial [86] is granted, as
follows:

       1.    The jury trial now set for April 24, 2012 is continued to June 19, 2012.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between April 24, 2012 and June 19, 2012, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED April 18, 2012.

                                           BY THE COURT:

                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
